Case 1:21-mj-00533-AJB Document 2 Filed 05/25/21 Page 1of1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ORIGINAL
Vit WA TE’S CRIMINAL MINUTES & ORDER FILED IN OPEN COURT
REMOVALS (Rule 5 & 5.1)
TIME IN COURT: HRS. 50 MINS.
FILED IN OPEN DATE: | 5/25/2021 TIME: 2:06 pm TAPE: FTR Gold
COURT
MAGISTRATE (PRESIDING):_ALAN J. BAVERMAN DEPUTY CLERK: Lisa Enix
CASE NO: 4:24-MJ-533 DEFENDANT'S NAME: David Panbehchi
AUSA: ‘ DEFENDANT’S Byron Conway
Samir Kaushal ATTORNEY:
USPO/PTR: 1 TYPE OF COUNSEL: FDP
Leslie Hopkins via phone
ARREST DATE:
xX Initial Appearance Hearing Held X Defendant informed of rights

 

 

 

Due Process Protection Act Warning Orally Given to Government’s Counsel. Order on page 2

 

Interpreter Sworn:

 

 

 

 

COUNSEL
x ORDER appointing The Federal Defender Program IA Only
ORDER appointing as counsel for defendant

 

 

ORDER defendant to pay attorney's fees as follows:

 

IDENTITY/PRELIMINARY HEARING

 

x Defendant WAIVES identity hearing. x WAIVER FILED

 

 

Identity hearing held Def. is named def. in indictment/complaint; held for removal to other district

 

Defendant WAIVES preliminary hearing WAIVER FILED

 

 

Preliminary hearing held. Probable cause found; def. held to District Court for removal to other
district.

 

 

Removal hearing set @

 

 

 

 

Commitment to Another District Filed.

 

BOND/DETENTION PROCEEDIN

 

 

 

 

 

 

 

 

Government Motion for DETENTION Filed Detention hearing set
Detention Hearing Held Detention Hearing Waived
Xx Bond Hearing Held Bond Set at $10,000
Xx Non-Surety Surety( )Cash ( ) Property (  ) Corporate Surety
x Special Conditions: Defendant's passport must be turn into probation by noon on May 26, 2021, all

firearms must be removed from the home prior to defendant's arrival today.
See bond for additional conditions.

 

 

x BOND FILED: Defendant RELEASED

 

Bond NOT EXECUTED. Defendant to remain in Marshal's custody.

 

Detention Order. Witten Order to follow.

 

 

 

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